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 6
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 7   POLICE DEPARTMENT
 8
                             UNITED STATES DISTRICT COURT
 9
                          NORTHERN DISTRICT OF CALIFORNIA
10
                                     SAN JOSE DIVISION
11
12   JESSICA DOMINGUEZ, INDIVIDUALLY             Case Number: 5:18-cv-04826-BLF
     AND AS GUARDIAN AD LITEM FOR
13   JACOB DOMINGUEZ, JORDAN                     ANSWER TO AMENDED COMPLAINT;
     DOMINGUEZ AND JALIYAH                       DEMAND FOR JURY TRIAL
14   DOMINGUEZ,
15                     Plaintiffs,
16               v.
17   CITY OF SAN JOSE, SAN JOSE POLICE
     DEPARTMENT and DOE POLICE
18   OFFICERS 1, 2 AND 3, and DOES,
     inclusive,
19
                       Defendants.
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                                             1
     ANSWER TO AMENDED COMPLAINT;                               Case No. 5:18-cv-04826-NC
     DEMAND FOR JURY TRIAL
                                                                                 1558100
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 1          Defendant, City of San Jose, for itself and no other, answers Plaintiffs’ Amended

 2   Complaint as follows:

 3      1. Answering Paragraph 1 of the Amended Complaint purporting to characterize this

 4   action, Defendant denies the allegations.

 5      2. Answering Paragraph 2 of the Amended Complaint purporting to characterize this

 6   action, Defendant denies the allegations.

 7      3. Answering Paragraph 3 of the Amended Complaint, Defendant admits that this

 8   Court has jurisdiction but denies that any action arose under any statute from the incident

 9   alleged in the Amended Complaint.

10      4. Answering Paragraph 4 of the Amended Complaint, Defendant is without sufficient

11   knowledge or information to form a belief as to the truth of the allegations and on that

12   basis denies each and every allegation.

13      5. Answering numbered Paragraph 6 of the Amended Complaint, Defendant is without

14   sufficient knowledge or information to form a belief as to the truth of the allegations and on

15   that basis denies each and every allegation.

16      6. Answering numbered Paragraph 7 of the Amended Complaint, Defendant admits

17   that it is a municipal corporation located in the County of Santa Clara in the State of

18   California and that it maintains a police department for purposes of law enforcement.

19   Defendant denies that the police department is its agent.

20      7. Answering numbered Paragraph 8 of the Amended Complaint, Defendant is without

21   sufficient knowledge or information to form a belief as to the truth of the allegations and on

22   that basis denies each and every allegation. Defendant further responds that, under the

23   Federal Rules of Civil Procedure, Doe defendants are not permitted.

24      8. Answering numbered Paragraph 9 of the Amended Complaint, Defendant admits

25   that a request for records concerning the shooting death of Jacob Dominguez dated

26   February 13, 2018 was submitted to the San Jose Police Department, which responded

27   that it was unable to comply with the request. Except as expressly admitted, Defendant

28   denies the allegations in Paragraph 9.

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 2      9. Answering numbered Paragraph 10 of the Amended Complaint, Defendant is

 3   without sufficient knowledge or information to form a belief as to the truth of the allegations

 4   and on that basis denies each and every allegation. Defendant further responds that,

 5   under the Federal Rules of Civil Procedure, Doe defendants are not permitted.

 6      10. Answering numbered Paragraph 11 of the Amended Complaint, Defendant denies

 7   that it or any defendant is liable to Plaintiffs. Defendant is without sufficient knowledge or

 8   information to form a belief as to the truth of the remaining allegations and on that basis

 9   denies each and every remaining allegation. Defendant further responds that, under the

10   Federal Rules of Civil Procedure, Doe defendants are not permitted.

11      11. Answering numbered Paragraph 12 of the Amended Complaint, Defendant admits

12   that on September 15, 2017, San Jose police officers in unmarked vehicles apprehended

13   an armed robbery suspect, identified as Jacob Dominguez, in a Kia SUV at the

14   intersection of Penitencia Creek Road and White Road in San Jose. Except as expressly

15   admitted, Defendant denies the allegations in Paragraph 12.

16      12. Answering numbered Paragraph 13 of the Amended Complaint, Defendant admits

17   that on September 15, 2017, San Jose police officers justifiably shot and killed an armed

18   robbery suspect, identified as Jacob Dominguez. Except as expressly admitted,

19   Defendant denies the allegations in Paragraph 13.

20      13. Answering numbered Paragraph 14 of the Amended Complaint, Defendant denies

21   the allegations.

22      14. Answering numbered Paragraph 15 of the Amended Complaint, Defendant

23   incorporates its responses to numbered Paragraphs 1 through 14 of the Amended

24   Complaint.

25      15. Answering numbered Paragraph 16 of the Amended Complaint purporting to

26   characterize this action, Defendant denies the allegations.

27      16. Answering numbered Paragraph 17 of the Amended Complaint, Defendant denies

28   the allegations.

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 1      17. Answering numbered Paragraph 18 of the Amended Complaint, Defendant admits

 2   that on September 15, 2017, San Jose police officers in unmarked vehicles apprehended

 3   an armed robbery suspect, identified as Jacob Dominguez, in a Kia SUV at the

 4   intersection of Penitencia Creek Road and White Road in San Jose, at which point the

 5   suspect was justifiably shot and killed. Except as expressly admitted, Defendant denies

 6   the allegations in Paragraph 18.

 7      18. Answering numbered Paragraph 19 of the Amended Complaint, Defendant denies

 8   the allegations.

 9      19. Answering numbered Paragraph 20 of the Amended Complaint, Defendant denies

10   the allegations.

11      20. Answering numbered Paragraph 21 of the Amended Complaint, Defendant denies

12   the allegations.

13      21. Answering numbered Paragraph 22 of the Amended Complaint, Defendant denies

14   the allegations.

15      22. Answering numbered Paragraph 23 of the Amended Complaint, Defendant denies

16   the allegations.

17      23. Answering numbered Paragraph 24 of the Amended Complaint, Defendant denies

18   the allegations.

19      24. Answering numbered Paragraph 25 of the Amended Complaint, Defendant denies

20   the allegations.

21      25. Answering numbered Paragraph 26 of the Amended Complaint purporting to

22   characterize this action, Defendant denies the allegations.

23      26. Answering numbered Paragraph 27 of the Amended Complaint, Defendant denies

24   the allegations.

25      27. Answering numbered Paragraph 28 of the Amended Complaint, Defendant denies

26   the allegations.

27      28. Answering numbered Paragraph 29 of the Amended Complaint, Defendant denies

28   the allegations.

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 1      29. Answering numbered Paragraph 30 of the Amended Complaint, Defendant denies

 2   the allegations.

 3      30. Answering numbered Paragraph 31 of the Amended Complaint, Defendant denies

 4   the allegations.

 5      31. Answering numbered Paragraph 32 of the Amended Complaint, Defendant denies

 6   the allegations.

 7      32. Answering numbered Paragraph 33 of the Amended Complaint purporting to

 8   characterize this action, Defendant denies the allegations.

 9      33. Answering numbered Paragraph 34 of the Amended Complaint, Defendant admits

10   the allegations.

11      34. Answering numbered Paragraph 35 of the Amended Complaint, Defendant denies

12   the allegations.

13      35. Answering numbered Paragraph 36 of the Amended Complaint, Defendant denies

14   the allegations.

15      36. Answering numbered Paragraph 37 of the Amended Complaint, Defendant denies

16   the allegations.

17      37. Answering numbered Paragraph 38 of the Amended Complaint, Defendant denies

18   the allegations.

19      38. Answering numbered Paragraph 47 of the Amended Complaint, Defendant denies

20   the allegations.

21      39. Answering numbered Paragraph 39 of the Amended Complaint, Defendant denies

22   the allegations.

23      40. In response to the allegations contained in the Prayer of the Amended Complaint,

24   Defendant denies that Plaintiffs are entitled to any relief.

25
26                                     AFFIRMATIVE DEFENSES

27          AS FOR A FIRST AFFIRMATIVE DEFENSE, Defendant alleges that the Amended

28   Complaint fails to state a claim upon which relief can be granted.

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 1          AS FOR A SECOND AFFIRMATIVE DEFENSE, Defendant alleges that any harm that

 2   Plaintiffs and Plaintiffs’ decedent suffered was the result of negligent or otherwise wrongful

 3   conduct of persons other than Defendant, including the conduct of Plaintiffs’ decedent, and

 4   that the conduct of persons other than Defendant was the sole and proximate cause of the

 5   injuries and damages alleged by Plaintiffs.

 6          AS FOR A THIRD AFFIRMATIVE DEFENSE, Defendant alleges that the Amended

 7   Complaint fails to state facts sufficient to establish Defendant committed or is otherwise

 8   legally responsible for a constitutional violation under Title 42 U.S.C. § 1983.

 9          AS FOR A FOURTH AFFIRMATIVE DEFENSE, Defendant alleges it is immune from

10   the state law causes of action pursuant to California Government Code Sections 800-1000.

11          AS FOR A FIFTH AFFIRMATIVE DEFENSE, Defendant alleges it is immune from the

12   state law causes of action pursuant to California Government Code Section 815.2(b) and

13   Section 820.8 granting immunity for an injury caused by the act or omission of another

14   person.

15          AS FOR AN SIXTH AFFIRMATIVE DEFENSE, Defendant alleges that its actions

16   towards the decedent were the result of his negligence and/or criminal conduct and that said

17   actions of the decedent were the sole and proximate cause of any damages alleged by

18   Plaintiffs in this case.

19          AS FOR A SEVENTH AFFIRMATIVE DEFENSE, Defendant alleges it is entitled to

20   immunity from Plaintiffs’ Amended Complaint by virtue of the provisions of Government Code

21   of the State of California, Section 800 through 1000, including, but not limited to Sections

22   820.2, 820.4, 820.6, 820.8, 821, 821.6, and 822.2.

23          AS FOR AN EIGHTH AFFIRMATIVE DEFENSE, Defendant alleges that its actions

24   were lawful and justified under the facts of the case and that at all times were in defense of

25   self and others.

26          AS FOR A NINTH AFFIRMATIVE DEFENSE, Defendant alleges that it is protected by

27   the affirmative defenses provided by California Penal Code Sections 197, 834(a), 835,

28   835(a), 836, and 836.5.

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 1         AS FOR A TENTH AFFIRMATIVE DEFENSE, Defendant alleges that it is immune

 2   from a claim of exemplary or punitive damages by virtue of Government Code Section 818.

 3         AS FOR A ELEVENTH AFFIRMATIVE DEFENSE, Defendant alleges that any act or

 4   omission by Defendant alleged in said Amended Complaint was a result of the exercise of

 5   discretion vested in a public employee, and Defendant is therefore immune and not liable for

 6   such acts (Government Code Section 820.2).

 7         WHEREFORE, this answering Defendant prays:

 8         1.     That Plaintiffs take nothing by their Amended Complaint;

 9         2.     That Plaintiffs’ Amended Complaint be dismissed with prejudice;

10         3.     That Defendants be awarded costs of suit, including attorney’s fees

11                incurred herein; and

12         4.     For such other and further relief as the Court deems proper.

13                                 DEMAND FOR JURY TRIAL

14         Defendant City of San Jose demands a trial by jury.

15
16                                                   Respectfully submitted,

17   Dated: September 28, 2018                       RICHARD DOYLE, City Attorney
18
19                                                   By: ___/s/ Maren J. Clouse_____________
                                                            MAREN J. CLOUSE
20                                                          Sr. Deputy City Attorney
21                                                   Attorneys for Defendant
                                                     CITY OF SAN JOSE
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